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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    ACS PRIMARY CARE PHYSICIANS                   §
    SOUTHWEST, P.A., HILL COUNTY                  §
    EMERGENCY MEDICAL ASSOCIATES, P.A.,           §
    LONGHORN EMERGENCY MEDICAL                    §
    ASSOCIATES, P.A., CENTRAL TEXAS               §
    EMERGENCY ASSOCIATES, P.A.,                   §
    EMERGENCY ASSOCIATES OF CENTRAL               §
    TEXAS, P.A., AND EMERGENCY SERVICES           §
    OF TEXAS, P.A.,                               §              C.A. NO. 4:20-CV-1282
                                                  §                     JURY
           Plaintiffs,                            §
                                                  §
    v.                                            §
                                                  §
    UNITEDHEALTHCARE INSURANCE                    §
    COMPANY AND UNITEDHEALTHCARE OF               §
    TEXAS, INC.,                                  §
                                                  §
           Defendants.                            §

                           PLAINTIFFS’ AMENDED COMPLAINT1

          Plaintiffs ACS Primary Care Physicians Southwest, P.A., Hill Country Emergency Medical

Associates, P.A., Longhorn Emergency Medical Associates, P.A., Central Texas Emergency

Associates, P.A., Emergency Associates of Central Texas, P.A., and Emergency Services of Texas,

P.A., (“Plaintiff Doctors”) by and through undersigned counsel, file this Amended Complaint

against Defendants UnitedHealthCare Insurance Company and UnitedHealthCare of Texas, Inc.

(collectively, the “Insurance Companies”), and show the Court as follows:




1
 Plaintiffs expressly dispute that the Court has subject-matter jurisdiction over this action. This
case is currently pending in federal court as a result of Defendants’ improper removal. The filing
of this Amended Complaint is without waiver of Plaintiffs’ right to seek remand to the Texas
District Court for the 190th District, Harris County. Plaintiffs’ Motion to Remand will be filed
immediately following submission of this Amended Complaint.
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                DISCOVERY CONTROL PLAN AND CLAIM FOR RELIEF

       Following remand to state court, this case will be governed by Level 3 discovery pursuant

to Rule 190.4 of the Texas Rules of Civil Procedure. Plaintiff Doctors seek monetary relief in

excess of $1,000,000.00.

                                        INTRODUCTION

       1.      Plaintiff Doctors provide emergency care to thousands of citizens of Texas. Unlike

most physicians, who can choose the patients that they treat, these doctors cannot. Under

compulsion of federal and state law, Plaintiff Doctors are obligated to treat all patients who present

in the emergency department. In recognition of the nature and critical importance of these services,

Texas law requires health insurers to compensate emergency medicine physicians at usual and

customary rates. Reasonable compensation is essential to permit Plaintiff Doctors to continue to

provide high-quality emergency services and to attract and retain physicians who are willing to

work long hours under stressful conditions providing life-saving medical services in otherwise

underserved areas of Texas.

       2.      In recent years, the Insurance Companies have begun reimbursing the Plaintiff

Doctors at rates below those required both by statute and by the Parties’ implied agreement.

       3.      This action seeks damages for the Insurance Companies’ violations of the Texas

Insurance Code and the Parties’ implied-in-fact contract.

                                             PARTIES

       4.      Plaintiff ACS Primary Care Physicians Southwest, P.A. is a Texas professional

association that provides physician staffing to emergency departments in Texas.

       5.      Plaintiff Hill Country Emergency Medical Associates, P.A. is a Texas professional

association that provides physician staffing to emergency departments in Texas.




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       6.      Plaintiff Longhorn Emergency Medical Associates, P.A. is a Texas professional

association that provides physician staffing to emergency departments in Texas.

       7.      Plaintiff Central Texas Emergency Associates, P.A. is a Texas professional

association that provides physician staffing to emergency departments in Texas.

       8.      Plaintiff Emergency Services of Texas, P.A. is a Texas professional association that

provides physician staffing to emergency departments in Texas.

       9.      Plaintiff Emergency Associates of Central Texas, P.A. is a Texas professional

association that provides physician staffing to emergency departments in Texas.

       10.     Defendant UnitedHealthCare Insurance Company is a corporation organized under

the laws of the State of Connecticut and doing business in Texas. UnitedHealthCare Insurance

Company is licensed by the Texas Department of Insurance as a life, health, or accident insurance

company, and underwrites or administers preferred provider benefit plans and other health

insurance products in the state of Texas. It may be served through its agent for service of process,

CT Corporation System, 350 North Paul Street, Dallas, TX 75201.

       11.     Defendant UnitedHealthCare of Texas, Inc. is a corporation organized under the

laws of the state of Texas with a principal office in Plano, Texas. UnitedHealthCare of Texas, Inc.

is licensed by the Texas Department of Insurance as a basic health maintenance organization

(“HMO”). It may be served through its agent for service of process, CT Corporation System, 1999

Bryan St., Suite 900, Dallas, TX 75201.

                                  JURISDICTION & VENUE

       12.     The United States District Court does NOT have subject-matter jurisdiction over

this dispute. Plaintiff Doctors file their Amended Complaint in this Court only because Defendants

have improperly removed this action from state court, despite the absence of federal subject-matter




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jurisdiction.

         13.    The state District Court of Texas has subject-matter jurisdiction because this

dispute involves an amount in controversy in excess of that Court’s minimum jurisdictional

requirements.

         14.    Venue is proper in the state District Court of Harris County, Texas pursuant to

Section 15.002(a)(1) of the Texas Civil Practice & Remedies Code because a substantial part of the

events or omissions giving rise to Plaintiff Doctors’ claims occurred in Harris County, Texas.

         15.    Insurance Companies are each subject to personal jurisdiction in Texas pursuant to

Tex. Civ. Prac. & Rem. Code § 17.042(1) because they have entered into contracts to provide

insurance to Texas residents and conduct business in this State.

                                               FACTS

                          Plaintiffs Provide Necessary Emergency Care

         16.    This is an action for damages stemming from Insurance Companies’ failure to

properly reimburse Plaintiff Doctors for emergency services provided to members of Insurance

Companies’ health plans in Texas.2

         17.    Plaintiff Doctors are emergency medicine physicians who staff hospital emergency

departments 24 hours a day, 7 days a week. Plaintiff Doctors provide emergency department

coverage at more than 25 Texas emergency departments.


    2
       Plaintiff Doctors do not assert any causes of action with respect to any patient whose health
insurance was issued under Medicare Part C (Medicare Advantage) or the Federal Employee
Health Benefits Act (FEHBA). Plaintiff Doctors also do not assert any claims relating to
Defendants’ Managed Medicare business. Plaintiff Doctors will serve, via encrypted transmission,
a list of the individual healthcare claims at issue in this litigation. To the extent that list contains
any healthcare claims relating to Managed Medicare, FEHBA, or Managed Medicaid business,
Plaintiff Doctors will remove them upon notice by Defendants. Additionally, Plaintiff Doctors do
not assert any causes of action under ERISA and are not suing derivatively to enforce an ERISA
plan beneficiary’s claim for benefits. Thus, there is no federal question jurisdiction pursuant to
ERISA.

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        18.     Plaintiff Doctors and the hospitals whose emergency departments they staff are

obligated by both Texas and federal law to examine any individual visiting the emergency

department and to provide stabilizing treatment to any such individual with an emergency medical

condition, regardless of the individual’s insurance coverage or ability to pay. See Emergency

Medical Treatment and Active Labor Act (EMTALA), 42 U.S.C. § 1395dd; Tex. Health & Safety

Code Ann. §§ 311.022–.024; Tex. Health & Safety Code Ann. §§ 241.027–.028, 241.055–.056.

Plaintiff Doctors fulfill this obligation for the hospitals and facilities which they staff. In this role,

Plaintiff Doctors provide emergency medical services to all patients, including to patients with

insurance coverage issued and/or underwritten by Insurance Companies (the “Members”).

        19.     The Texas Insurance Code explicitly requires insurers and HMOs, such as

Insurance Companies, to reimburse emergency medical providers at either the “usual and

customary rate” or an “agreed rate.” Tex. Ins. Code § 1271.155(a) (HMO plans); Tex. Ins. Code §

1301.0053(a) (EPO plans); § 1301.155(b) (PPO plans).

          Insurance Companies Underpaid Plaintiff Doctors for Emergency Services

        20.     Insurance Companies operate as an HMO under Chapter 843 of the Texas

Insurance Code and as an insurer under Chapter 1301 of the Texas Insurance Code. Insurance

Companies provide, either directly or through arrangements with providers such as hospitals and

Plaintiff Doctors, healthcare benefits to their Members.

        21.     Because there is no express, written contract between Insurance Companies and any

of the Plaintiff Doctors for the healthcare claims at issue in this litigation, Plaintiff Doctors are

designated as “non-participating” or “out-of-network” for all claims at issue. Nonetheless, the

Plaintiff Doctors and Insurance Companies have impliedly demonstrated their mutual assent to an

agreement requiring the Insurance Companies to reimburse the Plaintiff Doctors at a usual and




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customary rate for emergency medical services rendered to the Insurance Companies’ Members

and requiring the Plaintiff Doctors to accept reimbursement at a usual and customary rate as

payment in full. As such, the Parties have formed an enforceable, implied-in-fact contract.

       22.     From January 2016 through the present, Plaintiff Doctors have provided emergency

medical services to thousands of Insurance Companies’ Members.

       23.     Insurance Companies’ Members have received a wide variety of emergency

services (in some instances, life-saving services) from Plaintiff Doctors, including treatment of

conditions ranging from cardiac arrest, to broken limbs, to burns, to diabetic ketoacidosis and

shock, to gastric distress, and obstetrical distress. Most recently, the Plaintiff Doctors have

provided and continue to provide care to critically ill COVID-19 patients.

       24.     In recent years, Insurance Companies have dramatically decreased the

reimbursements to Plaintiff Doctors for services provided to certain of their Members.

       25.     Despite Insurance Companies’ obligations under both the Texas Insurance Code

and the Parties’ implied-in-fact contract, these new reimbursement levels are significantly below

the usual and customary rates for the services provided.

       26.     From January 2016 through the present, Plaintiff Doctors have identified thousands

of emergency service claims that Insurance Companies paid at unacceptably low rates, in violation

of both the above-referenced sections of the Texas Insurance Code and the Parties’ implied-in-fact

contract.3

       27.     For each of the healthcare claims at issue, Insurance Companies have already



3
 Pursuant to the recently enacted Senate Bill 1264, medical providers must submit to mandatory
arbitration prior to filing suit for underpayment of certain out-of-network claims for medical
services rendered on or after January 1, 2020. See Tex. Ins. Code § 1467.085. This action does
not seek recovery for underpayment of any claim for reimbursement subject to mandatory
arbitration.

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determined the claims to be payable pursuant to the terms of the Members’ respective health plans

and have actually paid the claims. Thus, this action involves no dispute over whether the relevant

claims are covered by the Members’ health benefits. Rather, this action solely involves a dispute

over whether the Insurance Companies have paid the appropriate rates of reimbursement for the

undisputedly covered claims.

          28.   Plaintiff Doctors bring this action to collect damages from the Insurance Companies

for the Insurance Companies’ failure to comply with the Texas Insurance Code and breach of the

Parties’ implied-in-fact contract, and to compel the Insurance Companies to pay Plaintiff Doctors

the usual and customary rate for the emergency services that Plaintiff Doctors have provided to

Insurance Companies’ Members.

          29.   All conditions precedent to the institution and maintenance of this action have been

performed, waived, or otherwise satisfied.

                                      CAUSES OF ACTION

                       COUNT I – Violation of the Texas Insurance Code

          30.   Plaintiff Doctors re-allege and restate paragraphs 1-29 as if they were fully set forth

herein.

          31.   Defendant UnitedHealthCare of Texas, Inc. is an HMO under the Texas Insurance

Code. Defendant UnitedHealthCare Insurance Company is a life, health, and accident insurer

under the Texas Insurance Code, and is an insurer under Chapter 1301 of the Texas Insurance

Code. Plaintiff Doctors are out-of-network providers who have provided emergency care to

Insurance Companies’ Members.

          32.   Section 1271.155(a) of the Texas Insurance Code requires an HMO to pay for

emergency care provided by out-of-network providers such as Plaintiff Doctors “at the usual and

customary rate or at an agreed rate.” Section 1301.0053(a) imposes the same requirement on an


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insurer that offers exclusive provider benefit plans. Section 1301.155(b) imposes the same

requirement on an insurer that offers preferred provider benefit plans.

          33.   Here, the “usual and customary rate” and the “agreed rate” are identical, as the

Parties have agreed that the Insurance Companies will reimburse the Plaintiff Doctors at the usual

and customary rate.

          34.   Insurance Companies have failed to fulfill those obligations under the Texas

Insurance Code by failing to pay for emergency care at the usual and customary rate on the claims

submitted by Plaintiff Doctors for emergency care rendered to Insurance Companies’ Members.

          35.   Plaintiff Doctors are entitled to recover the difference between the usual and

customary rate and the amount Insurance Companies have paid for emergency services that

Plaintiff Doctors rendered to Insurance Companies’ Members.

                        COUNT II – Breach of Contract Implied in Fact

          36.   Plaintiff Doctors re-allege and restate paragraphs 1-29 as if they were fully set forth

herein.

          37.   Insurance Companies and Plaintiff Doctors have demonstrated their mutual

agreement and understanding that Insurance Companies will reimburse Plaintiff Doctors at the

usual and customary rate for any emergency services rendered to Insurance Companies’ Members,

and that Plaintiff Doctors will accept reimbursement at the usual and customary rate as payment

in full for the provision of such emergency services. Accordingly, the Parties have formed an

enforceable, implied-in-fact contract.

          38.   However, after Plaintiff Doctors rendered emergency medical services to Insurance

Companies’ members, Insurance Companies paid to Plaintiff Doctors amounts significantly less

than the usual and customary rates for the services rendered.



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          39.     The Insurance Companies’ failure to reimburse Plaintiff Doctors at a usual and

customary rate constitutes a breach of the Parties’ implied-in-fact contract.

          40.     Consequently, Plaintiff Doctors seek damages for the breach, in the amount of the

difference between the usual and customary rates and the amounts Insurance Companies have paid

for emergency services that Plaintiff Doctors rendered to Insurance Companies’ Members.

                                   COUNT III – Quantum Meruit

          41.     Plaintiff Doctors re-allege and restate paragraphs 1-29 as if they were fully set forth

herein.

          42.     Plaintiff Doctors rendered valuable emergency services to Insurance Companies’

members.

          43.     Insurance Companies received the benefit of having its healthcare obligations to its

plan members discharged and their members received the benefit of the emergency care provided

to them by Plaintiff Doctors.

          44.     As insurers, Insurance Companies were reasonably aware that medical service

providers, including Plaintiff Doctors, would expect to be paid by Insurance Companies for the

emergency services provided to their members. Indeed, as pleaded above, this obligation is

codified in the Texas Insurance Code and accompanying regulations and was impliedly agreed to

by the Parties.

          45.     Insurance Companies accepted the benefit of the services provided by Plaintiff

Doctors to members of their health plans. However, Insurance Companies have arbitrarily and

unilaterally reimbursed Plaintiff Doctors at amounts far lower than the value of the services

provided by Plaintiff Doctors.

          46.     Therefore, Plaintiff Doctors are entitled to quantum meruit recovery.




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        47.    As a result of Insurance Companies’ actions, Plaintiff Doctors have been damaged

and are entitled to recover the difference between the amount Insurance Companies paid for

emergency care Plaintiff Doctors rendered to Insurance Companies’ members and the reasonable

value of the services that Plaintiff Doctors rendered to Insurance Companies by discharging their

obligations to Insurance Companies’ plan members.

                                     RULE 193.7 NOTICE4

        48.    Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, Plaintiff Doctors

hereby give notice to Insurance Companies that Plaintiff Doctors intend to use all documents

exchanged and produced between the parties (including, but not limited to, correspondence,

pleadings, records, and discovery responses) during the trial of this matter.

        RULE 194 REQUEST FOR DISCLOSURE AND DISCOVERY REQUESTS

        49.    Pursuant to Texas Rule of Civil Procedure 194, Plaintiff Doctors request that

Insurance Companies disclose, within 50 days of service of this request, the information or

material described in Rule 194.2.

                                        JURY DEMAND

        50.    Plaintiff Doctors hereby demand a trial by jury of the above-styled action.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs ACS Primary Care Physicians Southwest, P.A., Hill Country

Emergency Medical Associates, P.A., Longhorn Emergency Medical Associates, P.A., Central

Texas Emergency Associates, P.A., Emergency Associates of Central Texas, P.A., and Emergency

Services of Texas, P.A. hereby request that Defendants UnitedHealthCare Insurance Company and


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      Following remand, this Amended Complaint will serve as the action’s operative pleading in
Texas state court. Accordingly, Plaintiff Doctors include notices required by Rules 193.7 and 194
of the Texas Rules of Civil Procedure.

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UnitedHealthCare of Texas, Inc., be cited to appear and answer this Amended Complaint, and that

upon final trial and determination thereof, judgment be entered in favor of Plaintiffs awarding

them the following relief:

       A. Monetary damages equaling the difference between the amount Defendants have
already paid on the healthcare claims at issue and the usual and customary rate;

       B. quantum meruit recovery;

       C. court costs;

       D. pre-judgment and post-judgment interest; and

       E. such other and further relief to which the Plaintiffs may be entitled.

                                             Respectfully submitted,

                                             /s/ John Zavitsanos
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                                CERTIFICATE OF SERVICE

       I certify that on April 28, 2020, a true and correct copy of the above and foregoing has been
served via CM/ECF on all counsel of record.

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